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-o                               LINITED STATES DISTRICT COURT
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.Y
                               CENTRAL DISTRICT OF CALIFORNIA
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      I6
           Universal City Studios LLC; Columbia        Case No.   2 : 17   -cv -07 496-MWF(AS)
      t7
           Pictures Industries, Inc.; Disney
      18   Enterprises, Inc.; Twentieth Century Fox    DECLARATION OF JOHN A.
           Film Corporation; Paramount Pictures        CHRISTY ISO RESPONSE IN
      t9                                               OPPOSITION TO MOTION FOR
           Corporation; Wamer Bros. Entertainment,
      20   Inc.; Amazon Content Services, LLC;         LEAVE TO FILE FIRST
           Netflix Studios, LLC,                       AMENDED COMPLAINT ANI)
      2t
                                                       TO EXTEND DISCOVERY
      22                           Plaintiffs,         CUTOFF
                 VS
      ¿J
                                                       Date: July 9, 2018
      24   TickBox TV, LLC,                            Time: 10:00 a.m.
                                                       Ctrm: 5A (Hon. Michael V/.
      25
                                   Defendant.                Fitzgerald)
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                                     DECLARATION OF JOHN A. CHRISTY
      Case 2:17-cv-07496-MWF-AS Document 52-1 Filed 06/18/18 Page 2 of 2 Page ID #:794




        1                           DE             TION OF JOHN A. CHRISTY
       2          I, John A. Christy, hereby declare:
       )           1.  I am a partner in the law firm of Schreeder, Wheeler & Flint, LLP, and I
       4    am counsel of record for Defendant in the above-captioned proceeding. I have
        5   knowledge of the matters set forth herein and, if called as a witness, I could and
        6   would testifu competently to the facts stated herein.
        7          2.   On Friday, May 25,2018, I had a telephone conversation with counsel
        I   for Plaintiffs, Kelly Klaus, regarding Plaintiffs' intent to seek to amend the
        9   Complaint in this action. The parties were unable to reach a consensual resolution
       10   of Plaintiffs' request at that time.
       11          3.    Counsel for Plaintiffs did not advise me that he would be requesting an
       t2   extension of discovery unrelated to the proposed amendment of the Complaint, or
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 q     13   that the contemplated motion would request an extension without regard to whether
o      t4   an amendment of the Complaint was allowed.
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 3     15          4.    Counsel for Plaintiffs has not advised me of any discovery disputes.
Jo     t6          5.    I have not had any further conference with counsel for Plaintiffs
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3      t7   regarding the subject matter of Plaintiffs' Motionfor Leave to File First Amended
       18   Complaint and to Extend Discovery Cutoffprior to Plaintiffs' filing of such motion
       t9   onJune 4,2018.
       20          I declare under penalty of perjury under the laws of the United   States that the

       2l   foregoing is true and correct, and that this declaration was executed on this 18th day
       22   of June, 2018, in Atlanta, Georgia.
       23

       24
                                                          JO        A.     STY
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                                         DECLARATION OF JOHN A. CHRISTY
